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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

ELTON HARPER                                                                          PLAINTIFF

v.                                                                          No. 4:21CV94-SA-RP

CIRCUIT COURT OF WASHINGTON CO., ET AL.                                            DEFENDANTS

                                    ORDER OF DISMISSAL

       The court takes up, sua sponte, the dismissal of this cause. On August 13, 2021, the

court entered an order requiring the plaintiff – within 21 days – to either withdraw the petition in

this case – or to amend it to include all habeas corpus claims he believes he has. The deadline

to inform the court of his choice expired on September 3, 2021, and the plaintiff has taken

neither action. As the court cannot proceed with this case until the plaintiff chooses, the case is

DISMISSED without prejudice for failure to prosecute and failure to comply with an order of

the court under FED. R. CIV. P. 41(b).

       SO ORDERED, this, the 6th day of October, 2021.


                                                              /s/ Sharion Aycock
                                                              U. S. DISTRICT JUDGE
